
Considering the motion for interim disqualification filed by Judge Byron C. Williams, and the concurrence thereto by the Judiciary Commission of Louisiana,
IT IS ORDERED, ADJUDGED AND DECREED that Judge Byron C. Williams, Criminal District Court, Parish of Orleans, State of Louisiana, be and he hereby is disqualified from exercising any judicial function during the pendency of further proceedings in this matter, pursuant to La. Const. art. V, § 25 (C) and Supreme Court Rule XXIII, § 27.
This order shall be effective immediately.
NEW ORLEANS, LOUISIANA, this _____ day of ___________________, 2018.
FOR THE COURT:
/s/
JUSTICE, SUPREME COURT OF LOUISIANA
